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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 IN RE:

 APPLICATION OF THE COMMITTEE ON
 THE JUDICIARY, U.S. HOUSE OF                               No. 19-gj-48 (BAH)
 REPRESENTATIVES, FOR AN ORDER
 AUTHORIZING THE RELEASE OF
 CERTAIN GRAND JURY MATERIALS


         RESPONSE OF THE COMMITTEE ON THE JUDICIARY, U.S. HOUSE OF
                REPRESENTATIVES, TO ORDER TO SHOW CAUSE

         The Committee on the Judiciary (Committee) of the U.S. House of Representatives

respectfully responds to this Court’s Order directing the Committee to show cause “why, in light

of the Committee’s consent to the Department of Justice’s request for a seven-day administrative

stay from the Court of Appeals for the D.C. Circuit, which the Committee failed to mention in its

[50] Opposition to the Department of Justice’s Motion for a Stay Pending Appeal, the [45] Order

Granting the Application of the Committee on the Judiciary, U.S. House of Representatives

should not be stayed for the same period, until November 6, 2019.” Minute Order (Oct. 29,

2019).

         1. DOJ sought a stay pending appeal of this Court’s disclosure order from the D.C.

Circuit before this Court had an opportunity to rule on the request for a stay pending appeal that

DOJ had made in this Court earlier the same day. See DOJ’s Emergency Motion for Stay

Pending Appeal and for an Immediate Administrative Stay Pending Disposition of the Stay

Motion at 4 (Oct. 28, 2019), No. 19-5288 (D.C. Cir. filed Oct. 28, 2019). DOJ sought the

Committee’s consent to a seven-day administrative stay from the D.C. Circuit, to which the

Committee consented in order to allow both this Court and the D.C. Circuit adequate time to rule
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on DOJ’s motions for a stay pending appeal. Id. The Committee agreed to file its opposition to

DOJ’s D.C. Circuit motion for a stay pending appeal by November 1, 2019, at 4 p.m. Id.

       2. As of the time of this filing, the D.C. Circuit has not yet acted on DOJ’s request for an

administrative stay or on DOJ’s request for a stay pending appeal. Absent a stay from this Court

or the D.C. Circuit, this Court’s disclosure order will take effect tomorrow, October 30, 2019.

       If the D.C. Circuit does not issue an administrative stay, this Court could grant such a

stay to permit it further time, as needed, to consider DOJ’s motion for a stay pending appeal.

DOJ did not request that this Court enter such an administrative stay. Yet should this Court

require additional time before the October 30 disclosure deadline to rule on DOJ’s motion for a

stay pending appeal, the Committee consents to such a stay, as it consented to a seven-day

administrative stay before the D.C. Circuit.

       If the D.C. Circuit issues an administrative stay, the Committee anticipates that that stay

would give this Court additional time, if needed, to issue a ruling on DOJ’s motion for a stay

pending appeal in the first instance. This Court’s ruling would then inform both the Committee’s

opposition to DOJ’s D.C. Circuit motion and the D.C. Circuit’s consideration of that motion.

That is the sequence contemplated by Federal Rule of Appellate Procedure 8(a).

       The Committee respectfully submits that its consent to an administrative stay before the

D.C. Circuit, at DOJ’s request, does not bear on whether that Court or this Court should issue a

broader stay pending appeal. Cf. Garza v. Hargan, No. 17-5236, 2017 WL 4707112, at *1 (D.C.

Cir. Oct. 19, 2017) (“The purpose of this administrative stay is to give the court sufficient

opportunity to consider the emergency motion for stay and should not be construed in any way as

a ruling on the merits of that motion.” (citing D.C. Circuit Handbook of Practice and Internal

Procedures 33 (2017))). For all of the reasons stated in the Committee’s recently filed




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opposition before this Court, ECF No. 50, and for those the Committee will set forth in its

opposition before the D.C. Circuit, a stay pending appeal is not warranted here.

                                             Respectfully submitted,

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October 29, 2019




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